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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

EDWARD BRAGGS, et al.,                     )
                                           )
      Plaintiffs,                          )
                                           ) Case No. 2:14-cv-00601-MHT-GMB
v.                                         )
                                           ) District Judge Myron H. Thompson
JEFFERSON DUNN, et al.,                    )
                                           )
      Defendants.                          )

                    JOINT REPORT CONCERNING THE ADA
                     ARBITRATION REQUEST PROCEDURE

      Plaintiffs and the Defendants JEFFERSON DUNN (“Commissioner Dunn”)

and RUTH NAGLICH (“Naglich” and, collectively with Commissioner Dunn, “the

State”) hereby submit their Joint Report Concerning the ADA Arbitration Request

Procedure, in response to the Court’s Order of February 20, 2018 (doc. 1651),

showing the following:

      1. The parties discussed the issues set out in their Joint Brief Regarding

Scope of Arbitration (doc. 575) and reached an agreement, which should resolve

the issues raised in that pleading.

      2. The parties agreed to, and prepared, the “Arbitration Process,” attached

hereto as, “Exhibit A.” The parties further agreed that Exhibit A will be posted in

each facility of the Alabama Department of Corrections where notices are
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generally posted. Further, the parties agreed that a copy of Exhibit A will also be

available in each law library for each facility.

      Dated: February 26, 2018.

                                         /s/ Joseph G. Stewart Jr.
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                                        One of the Attorneys for the Commissioner
                                        and Associate Commissioner

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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been served upon all

attorneys of record in this matter, including without limitation the following, by the

Court’s CM/ECF system on this the 26st day of February, 2018:


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